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                   UNITED STATES BANKRUPTCY COURT
                  FOR THE DISTRICT OF MASSACHUSETTS
 ____________________________________
                                      )
 IN RE:                              )
 YVONNE V. SKAPARS                   )       Chapter 13
        Debtor,                      )       Case No.: 15-11221
 ____________________________________)


     MOTION TO AMEND SCHEDULES I & J AND THE CHAPTER 13 PLAN

        Now come the Debtor, Yvonne Skapars, through counsel and hereby requests this

 Honorable Court allow her to Amend Schedules I & J and the Chapter 13 Plan. As

 reasons therefore, the debtor states as follows:

        1. The amended Schedules I & J shows that the Debtor can afford the new plan

 payment.

        2. The amended Chapter 13 Plan treats all proof of claims accurately.

        WHEREFORE, Debtor, Yvonne Skapars, hereby requests the court allow her to

 Amend Schedules I & J and the Chapter 13 Plan.

                                               Respectfully Submitted,
                                               The Debtor,
                                               By Her Attorney,


                                               /s/ Peter M. Daigle______________
                                               Peter M. Daigle, Esquire
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 Dated: April 26, 2016
